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                            UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                         www.flsb.uscourts.gov
                                        CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                      1st Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                          Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:            Rafael Toro                                        JOINT DEBTOR: Paola Manzano                       CASE NO.:
 Last Four Digits of SS#                xxx-xx-4238                    Last Four Digits of SS# xxx-xx-2811

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $            374.96 for months             1      to       30       ;
           B.       $             319.40 for months            31     to       60       ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  4,000.00       TOTAL PAID $                      2,500.00
                     Balance Due       $             1,500.00 payable $ 50.00                    /month (Months         1 to       30 )
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 -NONE-                                             Arrearage on Petition Date $
 Address:                                                    Arrears Payment $                            /month     (Months    to )
 Account No:                                                 Regular Payment $                            /month     (Months    to )
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                       Description of Collateral
            Secured Creditor                            and Value of Collateral    Interest Rate       Plan Payments Months of Payment    Total Plan Payments
 Citibankna                                        6920 NW 177 Street Q
 Attn: Centralized                                      Miami, FL 33015
 Bankruptcy; Po Box 20363;                               Value based on
 Kansas City, MO 64195                                Private Appraisal.
 Account No: xxxxxx9267                      $               110,000.00                0%          $          0.00       0 To 0                             0.00

Priority Creditors: [as defined in 11 U.S.C. §507]
      -NONE-                         Total Due $
                                     Payable       $                        /month          (Months to )                Regular Payment $
Unsecured Creditors: Pay $287.46 /month (Months 1 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-

            Special Intentions:
            Capital One Auto Finance: Debtor will pay claim directly
            Chase Manhattan Mortgage: Debtor will pay claim directly
            SHOMA VILLAS 1 AT COUNTRY: Debtor will pay claim directly

            The Debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on
            an annual basis during the pendency of this case. The Debtor(s) hereby acknowledges that each year the case is
            pending the debtor(s) shall provide the trustee with their filed tax returns at the same time as the tax returns are filed
            with the Internal Revenue Service or other taxing agency and shall provide the trustee with verification of their
            disposable income.




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I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Rafael Toro                                                       /s/ Paola Manzano
 Rafael Toto                                                           Paola Manzano
 Debtor                                                                Joint Debtor
 Date: April 30, 2014                                                  Date: April 30, 2014




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